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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
–––––––––––––––––––––––––––––––––––––––––––– x
SHABTAI SCOTT SHATSKY, individually and as :
personal representative of the Estate of Keren Shatsky, :
JO ANNE SHATSKY, individually and as personal :
representative of the Estate of Keren Shatsky,          :
TZIPPORA SHATSKY SCHWARZ, YOSEPH                        :
SHATSKY, SARA SHATSKY TZIMMERMAN,                       :
MIRIAM SHATSKY, DAVID RAPHAEL                           :
SHATKSY, GINETTE LANDO THALER,                          : Case No. 1:18-cv-12355-MKV
individually and as personal representative of the      :
Estate of Rachel Thaler, MICHAEL THALER,                :
individually and as personal representative of the      : Hon. Mary Kay Vyskocil
Estate of Rachel Thaler, LEOR THALER, ZVI               :
THALER, ISAAC THALER, HILLEL TRATTNER, :
RONIT TRATTNER, ARON S. TRATTNER,                       :
SHELLEY TRATTNER, EFRAT TRATTNER,                       :
HADASSA DINER, YAEL HILLMAN, STEVEN                     :
BRAUN, CHANA FRIEDMAN, ILAN FRIEDMAN, :
MIRIAM FRIEDMAN, YEHIEL FRIEDMAN, ZVI :
FRIEDMAN and BELLA FRIEDMAN,                            :
                                                        :
                           Plaintiffs,                  :
                                                        :
           v.                                           :
                                                        :
                                                        :
THE PALESTINE LIBERATION ORGANIZATION, :
and THE PALESTINIAN AUTHORITY (a/k/a “THE :
PALESTINIAN INTERIM SELF-GOVERNMENT :
AUTHORITY” and/or “THE PALESTINIAN                      :
NATIONAL AUTHORITY”),                                   :
                                                        :
                           Defendants.                  :
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      INDEX OF EVIDENCE IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO
            DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
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           For the Court’s reference, the following chart outlines the evidence Plaintiffs reference in

their Responses to Defendants’ Local Rule 56.1 Statement of Facts and Memorandum of Law in

Opposition to Defendants’ Motion for Summary Judgment. Where applicable, the chart indicates

where each piece of evidence was previously introduced.

                                 INDEX OF PLAINTIFFS’ EVIDENCE
    No.                    Evidence                           Where Evidence Was Previously Introduced
     1.       Lowell Decl., Ex. 1: Letter from                Introduced in Shatsky I Plaintiffs’ 56.1
              Arafat to Rabin                                 Statement, filed on Nov. 12, 2013 (Shatsky I,
                                                              DE 252) 1
     2.       Lowell Decl., Ex. 2: “Amos v.                   Ex. 45 to the Shatsky I Plaintiffs’ 56.1
              Bezeq” Tel-Avi-Jaffa District Court             Statement, filed on Nov. 12, 2013 (Shatsky I,
              Judgment                                        DE 252)
     3.       Lowell Decl., Ex. 3: “Oslo success              Ex. 145 to the Shatsky I Plaintiffs’ 56.1
              was intifada Ziya Abu Ein” Video                Statement, filed on Nov. 12, 2013 (Shatsky I,
                                                              DE 252)
     4.       Lowell Decl., Ex. 4: Palestinian                Ex. 154 to the Shatsky I Plaintiffs’ 56.1
              National Authority Statements on                Statement, filed on Nov. 12, 2013 (Shatsky I,
              Payments for Zayd                               DE 252)
     5.       Lowell Decl., Ex. 5: Palestinian                Ex. 155 to the Shatsky I Plaintiffs’ 56.1
              National Authority Personal Annual              Statement, filed on Nov. 12, 2013 (Shatsky I,
              Report of Payments for Nazal                    DE 252)
     6.       Lowell Decl., Ex. 6: Palestinian                Ex. 158 Shatsky I Plaintiffs’ 56.1 Statement,
              National Authority Security and                 filed on Nov. 12, 2013 (Shatsky I, DE 252)
              Other Reports on Nazal
     7.       Lowell Decl., Ex. 7: Palestinian                Ex. 165 Shatsky I Plaintiffs’ 56.1 Statement,
              National Authority Statement of                 filed on Nov. 12, 2013 (Shatsky I, DE 252)
              Payments for Hafez Beneficiary
     8.       Lowell Decl., Ex. 8: Spitzen                    As disclosed to Defendants on Apr. 23, 2021,
              Declaration                                     the Spitzen Declaration falls within the scope
                                                              of his report submitted in Shatsky I on
                                                              September 25, 2020 (Shatsky I, DE 51).
     9.       Lowell Decl., Ex. 9: Shaked                     As disclosed to Defendants on Apr. 23, 2021,
              Declaration                                     the Shaked Declaration falls within the scope
                                                              of his report submitted in Shatsky I on March
                                                              11, 2013.
     10.      Lowell Decl., Ex. 10: Transcript of             Ex. 11 to Shatsky I Plaintiffs’ 56.1 Statement,
              Dahbour Deposition                              filed on Nov. 12, 2013 (Shatsky I, DE 252)


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  All references to Shatsky I refer to Shatsky et al. v. Palestine Liberation Org. et al., Case No. 1:02-cv-2280 (RJL)
(D.D.C. Nov. 2002). Plaintiffs’ Statement of Material Facts as to Which There is a Genuine Issue to be Tried was
filed on November 12, 2013 (Shatsky I, DE 252).

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No.                 Evidence                      Where Evidence Was Previously Introduced
 11.   Lowell Decl., Ex. 11: Transcript of        This deposition was conducted on July 29,
       7/29/21 Ghannam Deposition                 2021, as part of the jurisdictional discovery
                                                  ordered on this case. ECF 60
 12.   Lowell Decl., Ex. 12: Transcript of        This deposition was conducted on July 30,
       7/30/21 Ghannam Deposition                 2021, as part of the jurisdictional discovery
                                                  ordered on this case. ECF 60
 13.   Lowell Decl., Ex. 13: Transcript of        This deposition was conducted on July 27,
       7.27.21 Salem Deposition                   2021, as part of the jurisdictional discovery
                                                  ordered on this case. ECF 60
 14.   Lowell Decl., Ex. 14_: Transcript of       This deposition was conducted on July 28,
       7.28.21 Salem Deposition                   2021, as part of the jurisdictional discovery
                                                  ordered on this case. ECF 60
 15.   Lowell Decl., Ex. 15: PFLP.ps              Ex. 123 to Shatsky I Plaintiffs’ 56.1 Statement,
       Publication                                filed on Nov. 12, 2013 (Shatsky I, DE 252)
 16.   Lowell Decl., Ex. 16 Ali Sadeq’s           Ex. 81 Shatsky I Plaintiffs’ 56.1 Statement,
       Writing                                    filed on Nov. 12, 2013 (Shatsky I, DE 252)
 17.   Lowell Decl., Ex. 17: Palestinian          Ex. 134 Shatsky I Plaintiffs’ 56.1 Statement,
       Media Watch Video                          filed on Nov. 12, 2013 (Shatsky I, DE 252)
 18.   Lowell Decl., Ex. 18: “Suha Arafat         Ex. 144 Shatsky I Plaintiffs’ 56.1 Statement,
       The 2000 Intifada Was                      filed on Nov. 12, 2013 (Shatsky I, DE 252)
       Premeditated, Planned by Arafat”
       Video
 19.   Lowell Decl., Ex. 19: Levitt               As disclosed to Defendants on Apr. 23, 2021,
       Declaration                                the Levitt Declaration falls within the scope of
                                                  his report submitted in Shatsky I on March 11,
                                                  2013..
 20.   Lowell Decl., Ex. 20: 2007 ISA             Shatsky I Plaintiffs’ Notice of Filing and
       Report                                     Supplemental Status Report, filed on
                                                  September 15, 2020 (Shatsky I, DE 50, filed as
                                                  Exhibit to Attachment #1)
 21.   Lowell Decl., Ex. 21: Report 1             Ex. 54 to Shatsky I Plaintiffs’ 56.1 Statement ,
       Pursuant to Title VIII of Public Law       filed on Nov. 12, 2013 (Shatsky I, DE 252)
       101-246
 22.   Lowell Decl., Ex. 22: May 6, 2002          Ex. 63 to Shatsky I Plaintiffs’ 56.1 Statement,
       Israel Ministry of Foreign Affairs         filed on Nov. 12, 2013 (Shatsky I, DE 252)
       Publication
 23.   Lowell Decl., Ex. 23: June 5, 2002         Ex. 64 to Shatsky I Plaintiffs’ 56.1 Statement,
       Israel Ministry of Foreign Affairs         filed on Nov. 12, 2013 (Shatsky I, DE 252)
       Publication
 24.   Lowell Decl., Ex. 24: Palestinian          Ex. 151 to Shatsky I Plaintiffs’ 56.1 Statement,
       National Authority Report on               filed on Nov. 12, 2013 (Shatsky I, DE 252)
       Payments for Hafez


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                       INDEX OF PLAINTIFFS’ EVIDENCE
No.                 Evidence                      Where Evidence Was Previously Introduced
 25.   Lowell Decl., Ex. 25: Guez                 As disclosed to Defendants on Apr. 23, 2021,
       Declaration                                the Guez Declaration merely provides
                                                  foundational testimony for the admissibility of
                                                  the Ilan Declaration and the 2007 ISA Report,
                                                  submitted in Shatsky I on September 15, 2020
                                                  (Shatsky I, DE 50).

 26.   Lowell Decl., Ex. 26: Ilan                 Shatsky I Plaintiffs’ Notice of Filing and
       Declaration                                Supplemental Status Report (Ex. 1), filed on
                                                  September 15, 2020 (Shatsky I, DE 50)
 27.   Lowell Decl., Ex. 27: May 2, 2002          Ex. 115 to Shatsky I Plaintiffs’ 56.1 Statement,
       Israel Police Report of Nazal              filed on Nov. 12, 2013 (Shatsky I, DE 252)
 28.   Lowell Decl., Ex. 28: Apr. 24, 2002        Ex. 114 to Shatsky I Plaintiffs’ 56.1 Statement,
       Israel Police Report of Nazal              filed on Nov. 12, 2013 (Shatsky I, DE 252)
 29.   Lowell Decl., Ex. 29: Jan. 12, 2012        Ex. 69 to Shatsky I Plaintiffs’ 56.1 Statement,
       Palestine Ministry of Detainees            filed on Nov. 12, 2013 (Shatsky I, DE 252)
       Publication
 30.   Lowell Decl., Ex. 30: Sept. 9, 2008        Ex. 66 to Shatsky I Plaintiffs’ 56.1 Statement,
       Palestine Ministry of Detainees            filed on Nov. 12, 2013 (Shatsky I, DE 252)
       Press Statement
 31.   Lowell Decl., Ex. 31: Sept. 18, 2009       Ex. 67 to Shatsky I Plaintiffs’ 56.1 Statement,
       Palestine Ministry of Detainees            filed on Nov. 12, 2013 (Shatsky I, DE 252)
       Publication
 32.   Lowell Decl., Ex. 32: Palestine            Ex. 71 to Shatsky I Plaintiffs’ 56.1 Statement,
       Ministry of Detainees Publication          filed on Nov. 12, 2013 (Shatsky I, DE 252)
       titled “Qaraq’i: We Request the
       Inclusion of the Prisoners of 1948,
       Jerusalem and the Occupied Golan
       in the Exchange Deal”
 33.   Lowell Decl., Ex. 33_: U.S.                Ex. 56 Shatsky I Plaintiffs’ 56.1 Statement,
       Department of State “Patterns of           filed on Nov. 12, 2013 (Shatsky I, DE 252)
       Global Terrorism 2002” Report
 34.   Lowell Decl., Ex. 34: July 31, 2000        Ex. 104 to Shatsky I Plaintiffs’ 56.1 Statement,
       Al-Hadaf Magazine Publication              filed on Nov. 12, 2013 (Shatsky I, DE 252)
 35.   Lowell Decl., Ex. 35: “Ahmed Sada          Ex. 38 to Shatsky I Plaintiffs’ 56.1 Statement,
       Yousef Abed Alrasoul” Judea                filed on Nov. 12, 2013 (Shatsky I, DE 252)
       Military Court Verdict
 36.   Lowell Decl., Ex. 36: July 2001 Al-        Ex. 106 to Shatsky I Plaintiffs’ 56.1 Statement,
       Hadaf Magazine Publication                 filed on Nov. 12, 2013 (Shatsky I, DE 252)
 37.   Lowell Decl., Ex. 37: U.S.                 Ex. 52 to Shatsky I Plaintiffs’ 56.1 Statement,
       Department of State “Patterns of           filed on Nov. 12, 2013 (Shatsky I, DE 252)
       Global Terrorism 2001” Report


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                       INDEX OF PLAINTIFFS’ EVIDENCE
No.                 Evidence                       Where Evidence Was Previously Introduced
 38.   Lowell Decl., Ex. 38: “Israel vs. Aha       Ex. 37 to Shatsky I Plaintiffs’ 56.1 Statement,
       Gholmeh” Jerusalem District Court           filed on Nov. 12, 2013 (Shatsky I, DE 252)
       Decision
 39.   Lowell Decl., Ex. 39: Palestinian           Ex. 152 to Shatsky I Plaintiffs’ 56.1 Statement,
       Authority Issued Death Certificate          filed on Nov. 12, 2013 (Shatsky I, DE 252)
       for Hafez
 40.   Lowell Decl., Ex. 40: Feb. 17, 2002         Ex. 112 to Shatsky I Plaintiffs’ 56.1 Statement,
       Al Jazeera News Article Published           filed on Nov. 12, 2013 (Shatsky I, DE 252)
 41.   Lowell Decl., Ex. 41: Statement of          Ex. 7 to Shatsky I Plaintiffs’ Motion to Alter or
       Kaabi                                       Amend Judgment, filed on July 18, 2017
                                                   (Shatsky I, DE 354)
 42.   Lowell Decl., Ex. 42: PFLP                  Ex. 120 to Shatsky I Plaintiffs’ 56.1 Statement,
       Publication on Hafez                        filed on Nov. 12, 2013 (Shatsky I, DE 252)
 43.   Lowell Decl., Ex. 43: PFLP                  Ex. 121 to Shatsky I Plaintiffs’ 56.1 Statement,
       Publication on Nassar                       filed on Nov. 12, 2013 (Shatsky I, DE 252)
 44.   Lowell Decl., Ex. 44: PFLP                  Ex. 122 to Shatsky I Plaintiffs’ 56.1 Statement,
       Publication on al-Majdalawi                 filed on Nov. 12, 2013 (Shatsky I, DE 252)
 45.   Lowell Decl., Ex. 45: Estate                Offered to establish citizenship or relationship
       Administrator Appointment for               of Plaintiff, and attached as an Exhibit to
       Rachel Thaler                               Plaintiffs’ Memorandum of Law in Opposition
                                                   to Defendants’ Motion to Dismiss for Lack of
                                                   Jurisdiction.
 46.   Lowell Decl., Ex. 46: Estate                Offered to establish citizenship or relationship
       Administrator Appointment for               of Plaintiff, and attached as an Exhibit to
       Karen Shatsky                               Plaintiffs’ Memorandum of Law in Opposition
                                                   to Defendants’ Motion to Dismiss for Lack of
                                                   Jurisdiction.
 47.   Lowell Decl., Ex. 47: Yael                  Offered to establish citizenship or relationship
       Hillman’s birth certificate                 of Plaintiff, and attached as an Exhibit to
                                                   Plaintiffs’ Memorandum of Law in Opposition
                                                   to Defendants’ Motion to Dismiss for Lack of
                                                   Jurisdiction.
 48.   Lowell Decl., Ex. 48: Transcript of         Ex. 44 to Shatsky I Lowell Declaration in
       the Feb. 11, 2013 Deposition of             support of Opposition to the Motion for
       Chana Edri (Friedman)                       Summary Judgment, filed on Jan. 26, 2016
                                                   (Shatsky I, DE 330)
 49.   Lowell Decl., Ex. 49: Transcript of         Ex. 51 to Shatsky I Lowell Declaration in
       the Feb. 12, 2013 Deposition of             support of Opposition to the Motion for
       Hillel Trattner                             Summary Judgment, filed on Jan. 26, 2016
                                                   (Shatsky I, DE 330)
 50.   Lowell Decl., Ex. 50: Transcript of         Ex. 49 to Shatsky I Lowell Declaration in
       the Feb. 6, 2013 Deposition of Leor         support of Opposition to the Motion for
       Thaler

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                       INDEX OF PLAINTIFFS’ EVIDENCE
No.                 Evidence                      Where Evidence Was Previously Introduced
                                                  Summary Judgment, filed on Jan. 26, 2016
                                                  (Shatsky I, DE 330)
 51.   Lowell Decl., Ex. 51: Psychological        Offered to establish citizenship or relationship
       Evaluation of Leor Thaler                  of Plaintiff, and attached as an Exhibit to
                                                  Plaintiffs’ Memorandum of Law in Opposition
                                                  to Defendants’ Motion to Dismiss for Lack of
                                                  Jurisdiction.
 52.   Lowell Decl., Ex. 52: Inheritance          Offered to establish citizenship or relationship
       Order for Keren Shatsky                    of Plaintiff, and attached as an Exhibit to
                                                  Plaintiffs’ Memorandum of Law in Opposition
                                                  to Defendants’ Motion to Dismiss for Lack of
                                                  Jurisdiction.
 53.   Lowell Decl., Ex. 53: U.S. Passports       Offered to establish citizenship or relationship
       for Tzippora Shatsky and David             of Plaintiff, and attached as an Exhibit to
       Shatsky                                    Plaintiffs’ Memorandum of Law in Opposition
                                                  to Defendants’ Motion to Dismiss for Lack of
                                                  Jurisdiction.
 54.   Lowell Decl., Ex. 54: U.S. Passport        Offered to establish citizenship or relationship
       for Aron Trattner                          of Plaintiff, and attached as an Exhibit to
                                                  Plaintiffs’ Memorandum of Law in Opposition
                                                  to Defendants’ Motion to Dismiss for Lack of
                                                  Jurisdiction.
 55.   Lowell Decl., Ex. 55: U.S. Passport        Offered to establish citizenship or relationship
       for Chana Friedman                         of Plaintiff, and attached as an Exhibit to
                                                  Plaintiffs’ Memorandum of Law in Opposition
                                                  to Defendants’ Motion to Dismiss for Lack of
                                                  Jurisdiction.
 56.   Lowell Decl., Ex. 56: U.S. Passport        Offered to establish citizenship or relationship
       for Hillel Trattner                        of Plaintiff, and attached as an Exhibit to
                                                  Plaintiffs’ Memorandum of Law in Opposition
                                                  to Defendants’ Motion to Dismiss for Lack of
                                                  Jurisdiction.
 57.   Lowell Decl., Ex. 57: U.S. Passport        Offered to establish citizenship or relationship
       for Miriam Shatsky                         of Plaintiff, and attached as an Exhibit to
                                                  Plaintiffs’ Memorandum of Law in Opposition
                                                  to Defendants’ Motion to Dismiss for Lack of
                                                  Jurisdiction.
 58.   Lowell Decl., Ex. 58: U.S. Passport        Offered to establish citizenship or relationship
       for Sara Shatsky                           of Plaintiff, and attached as an Exhibit to
                                                  Plaintiffs’ Memorandum of Law in Opposition
                                                  to Defendants’ Motion to Dismiss for Lack of
                                                  Jurisdiction.


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                       INDEX OF PLAINTIFFS’ EVIDENCE
No.                 Evidence                      Where Evidence Was Previously Introduced
 59.   Lowell Decl., Ex. 59: U.S. Passport        Offered to establish citizenship or relationship
       for Shelley Trattner                       of Plaintiff, and attached as an Exhibit to
                                                  Plaintiffs’ Memorandum of Law in Opposition
                                                  to Defendants’ Motion to Dismiss for Lack of
                                                  Jurisdiction.
 60.   Lowell Decl., Ex. 60: U.S. Passport        Offered to establish citizenship or relationship
       for Steven Braun                           of Plaintiff, and attached as an Exhibit to
                                                  Plaintiffs’ Memorandum of Law in Opposition
                                                  to Defendants’ Motion to Dismiss for Lack of
                                                  Jurisdiction.
 61.   Lowell Decl., Ex. 61: U.S. Passport        Offered to establish citizenship or relationship
       for Yoseph Shatsky                         of Plaintiff, and attached as an Exhibit to
                                                  Plaintiffs’ Memorandum of Law in Opposition
                                                  to Defendants’ Motion to Dismiss for Lack of
                                                  Jurisdiction.
 62.   Lowell Decl., Ex. 62: U.S. Passports       Offered to establish citizenship or relationship
       for Isaac Thaler and Leor Thaler           of Plaintiff, and attached as an Exhibit to
                                                  Plaintiffs’ Memorandum of Law in Opposition
                                                  to Defendants’ Motion to Dismiss for Lack of
                                                  Jurisdiction.
 63.   Lowell Decl., Ex. 63: U.S. Passports       Offered to establish citizenship or relationship
       for Jo Anne Shatsky and Shabtai            of Plaintiff, and attached as an Exhibit to
       Shatsky                                    Plaintiffs’ Memorandum of Law in Opposition
                                                  to Defendants’ Motion to Dismiss for Lack of
                                                  Jurisdiction.
 64.   Lowell Decl., Ex. 64: U.S. Passport        Offered to establish citizenship or relationship
       for Miriam Friedman                        of Plaintiff, and attached as an Exhibit to
                                                  Plaintiffs’ Memorandum of Law in Opposition
                                                  to Defendants’ Motion to Dismiss for Lack of
                                                  Jurisdiction.
 65.   Lowell Decl., Ex. 65: U.S. Passports       Offered to establish citizenship or relationship
       for Yehiel Friedman and Bella              of Plaintiff, and attached as an Exhibit to
       Friedman                                   Plaintiffs’ Memorandum of Law in Opposition
                                                  to Defendants’ Motion to Dismiss for Lack of
                                                  Jurisdiction.
 66.   Lowell Decl., Ex. 66: U.S. Passports       Offered to establish citizenship or relationship
       for Zvi Friedman and Ilan Friedman         of Plaintiff, and attached as an Exhibit to
                                                  Plaintiffs’ Memorandum of Law in Opposition
                                                  to Defendants’ Motion to Dismiss for Lack of
                                                  Jurisdiction.
 67.   Lowell Decl., Ex. 67: U.S. Passports       Offered to establish citizenship or relationship
       for Zvi Thaler, Leor Thaler, and           of Plaintiff, and attached as an Exhibit to
       Rachel Thaler                              Plaintiffs’ Memorandum of Law in Opposition

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                       INDEX OF PLAINTIFFS’ EVIDENCE
No.                 Evidence                       Where Evidence Was Previously Introduced
                                                   to Defendants’ Motion to Dismiss for Lack of
                                                   Jurisdiction.
 68.   Lowell Decl., Ex. 68: Excerpts from         Ex. 52 to Shatsky I Lowell Declaration in
       the Transcript of the Feb. 12, 2013         support of Opposition to the Motion for
       Deposition of Ronit Trattner                Summary Judgment, filed on Jan. 26, 2016
                                                   (Shatsky I, DE 330)
 69.   Lowell Decl., Ex. 69: Excerpts from         Ex. 43 to Shatsky I Lowell Declaration in
       the Transcript of the Feb. 5, 2013          support of Opposition to the Motion for
       Deposition of Steven Braun                  Summary Judgment, filed on Jan. 26, 2016
                                                   (Shatsky I, DE 330)
 70.   Lowell Decl., Ex. 70: “Goldman et           Ex. 42 to Shatsky I Plaintiffs’ 56.1 Statement,
       al. v. Palestinian Authority”               filed on Nov. 12, 2013 (Shatsky I, DE 252)
       Decision by Tel Aviv-Jaffa District
       Court
 71.   Lowell Decl., Ex. 71: Palestinian           Ex. 166 to Shatsky I Plaintiffs’ 56.1 Statement,
       National Authority Financial                filed on Nov. 12, 2013 (Shatsky I, DE 252)
       Account Report for Nazal
 72.   Lowell Decl., Ex. 72: Israel Military       Ex. 20 to Shatsky I Plaintiffs’ 56.1 Statement,
       Court of Appeals Judgment for               filed on Nov. 12, 2013 (Shatsky I, DE 252)
       Nazal
 73.   Lowell Decl., Ex. 73: Aug. 23, 1990         Ex. 15 to Shatsky I Plaintiffs’ 56.1 Statement,
       Israel Military Court of Appeals            filed on Nov. 12, 2013 (Shatsky I, DE 252)
       Report
 74.   Lowell Decl., Ex. 74: Order for             Ex. 16 to Shatsky I Plaintiffs’ 56.1 Statement,
       Photography Report and Table of             filed on Nov. 12, 2013 (Shatsky I, DE 252)
       Photographs
 75.   Lowell Decl., Ex. 75: Israel Ministry       Ex. 19 to Shatsky I Plaintiffs’ 56.1 Statement,
       of Health Photography Report                filed on Nov. 12, 2013 (Shatsky I, DE 252)
 76.   Lowell Decl., Ex. 76: “Nuraddin             Ex. 35 to Shatsky I Plaintiffs’ 56.1 Statement,
       Said Daoud” Israel Military Court           filed on Nov. 12, 2013 (Shatsky I, DE 252)
       Judgment
 77.   Lowell Decl., Ex. 77: May 13, 2012          Ex. 125 to Shatsky I Plaintiffs’ 56.1 Statement,
       PFLP Publication on Nazal                   filed on Nov. 12, 2013 (Shatsky I, DE 252)
 78.   Lowell Decl., Ex. 78: Apr. 26, 2012         Ex. 124 to Shatsky I Plaintiffs’ 56.1 Statement,
       PFLP Publication on Nazal                   filed on Nov. 12, 2013 (Shatsky I, DE 252)
 79.   Lowell Decl., Ex. 79: May 15, 2012          Ex. 111 to Shatsky I Plaintiffs’ 56.1 Statement,
       Al-Hadaf Magazine Publication on            filed on Nov. 12, 2013 (Shatsky I, DE 252)
       Nazal
 80.   Lowell Decl., Ex. 80: Transcript of         Ex. 43 to Shatsky I Plaintiffs’ 56.1 Statement,
       Yousef Ahmad Jubran Examination             filed on Nov. 12, 2013 (Shatsky I, DE 252)
       in Tel Aviv Yaffo District Court



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No.                 Evidence                      Where Evidence Was Previously Introduced
 81.   Lowell Decl., Ex. 81: Palestine            Ex. 68 to Shatsky I Plaintiffs’ 56.1 Statement,
       Ministry of Detainees Publication on       filed on Nov. 12, 2013 (Shatsky I, DE 252)
       Prisoner Payments
 82.   Lowell Decl., Ex. 82: Palestinian          Ex. 159 to Shatsky I Plaintiffs’ 56.1 Statement,
       National Authority Statement on            filed on Nov. 12, 2013 (Shatsky I, DE 252)
       Payments for Nazal
 83.   Lowell Decl., Ex. 83: Palestinian          Ex. 156 to Shatsky I Plaintiffs’ 56.1 Statement,
       National Authority Report on               filed on Nov. 12, 2013 (Shatsky I, DE 252)
       Payments for Hindi
 84.   Lowell Decl., Ex. 84: Palestinian          Ex. 160 to Shatsky I Plaintiffs’ 56.1 Statement,
       National Authority Statement on            filed on Nov. 12, 2013 (Shatsky I, DE 252)
       Payments for Ra’i
 85.   Lowell Decl., Ex. 85: Palestinian          Ex. 161 to Shatsky I Plaintiffs’ 56.1 Statement,
       National Authority Detainee Form           filed on Nov. 12, 2013 (Shatsky I, DE 252)
       for Ra’i
 86.   Lowell Decl., Ex. 86: Detention and        Ex. 162 to Shatsky I Plaintiffs’ 56.1 Statement,
       Payment Report for Ra’i                    filed on Nov. 12, 2013 (Shatsky I, DE 252)
 87.   Lowell Decl., Ex. 87: Palestinian          Ex. 163 to Shatsky I Plaintiffs’ 56.1 Statement,
       National Authority Statement of            filed on Nov. 12, 2013 (Shatsky I, DE 252)
       Payments for Ra’i’s Spouse
 88.   Lowell Decl., Ex. 88: U.S.                 Ex. 51 to Shatsky I Plaintiffs’ 56.1 Statement,
       Department of State “Country               filed on Nov. 12, 2013 (Shatsky I, DE 252)
       Reports on Human Rights Practices
       for 2001”
 89.   Lowell Decl., Ex. 89: U.S.                 Ex. 57 to Shatsky I Plaintiffs’ 56.1 Statement,
       Department of State “Country               filed on Nov. 12, 2013 (Shatsky I, DE 252)
       Reports on Human Rights Practices
       for 2002”
 90.   Lowell Decl., Ex. 90: Report 2             Ex. 53 to Shatsky I Plaintiffs’ 56.1 Statement,
       Pursuant to Title VIII of Public Law       filed on Nov. 12, 2013 (Shatsky I, DE 252)
       101-246
 91.   Lowell Decl., Ex. 91: Report 3             Ex. 50 to Shatsky I Plaintiffs’ 56.1 Statement,
       Pursuant to Title VIII of Public Law       filed on Nov. 12, 2013 (Shatsky I, DE 252)
       101-246
 92.   Lowell Decl., Ex. 92: “Arafat ran          Ex. 138 to Shatsky I Plaintiffs’ 56.1 Statement,
       Intifada - Mazan” Video                    filed on Nov. 12, 2013 (Shatsky I, DE 252)
 93.   Lowell Decl., Ex. 93: Al-Hayat             Ex. 73 to Shatsky I Plaintiffs’ 56.1 Statement,
       Interview Article                          filed on Nov. 12, 2013 (Shatsky I, DE 252)
 94.   Lowell Decl., Ex. 94: “Dahlan –            Ex. 141 to Shatsky I Plaintiffs’ 56.1 Statement,
       Arafat deceived the world” Video           filed on Nov. 12, 2013 (Shatsky I, DE 252)
 95.   Lowell Decl., Ex. 95: Transcript for       Ex. 55 to Shatsky I Plaintiffs’ 56.1 Statement,
       Hearing Before the Subcommittee            filed on Nov. 12, 2013 (Shatsky I, DE 252)
       on the Middle East and South Asia

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                        INDEX OF PLAINTIFFS’ EVIDENCE
No.                   Evidence                     Where Evidence Was Previously Introduced
 96.    Lowell Decl., Ex. 96: “Israel v.           Ex. 31 to Shatsky I Plaintiffs’ 56.1 Statement,
        Barghouti” Tel Aviv-Jaffa District         filed on Nov. 12, 2013 (Shatsky I, DE 252)
        Court Verdict
 97.    Lowell Decl., Ex. 97: Palestine            Ex. 131 to Shatsky I Plaintiffs’ 56.1 Statement,
        Evaluation Report on Abu Halawah           filed on Nov. 12, 2013 (Shatsky I, DE 252)
 98.    Lowell Decl., Ex. 98: “Dahlan PA           Ex. 142 to Shatsky I Plaintiffs’ 56.1 Statement,
        security fought Israel – hid Hamas”        filed on Nov. 12, 2013 (Shatsky I, DE 252)
        Video
 99.    Lowell Decl., Ex. 99: “PA forces did       Ex. 143 to Shatsky I Plaintiffs’ 56.1 Statement,
        most terror attacks - Ajrami” Video        filed on Nov. 12, 2013 (Shatsky I, DE 252)
 100.   Lowell Decl., Ex. 100: “Sermon kill        Ex. 135 to Shatsky I Plaintiffs’ 56.1 Statement,
        Jews everywhere Oct 13-00” Video           filed on Nov. 12, 2013 (Shatsky I, DE 252)
 101.   Lowell Decl., Ex. 101: Transcript of       Ex. 150 to Shatsky I Plaintiffs’ 56.1 Statement,
        Speech by PLO Representative and           filed on Nov. 12, 2013 (Shatsky I, DE 252)
        PA Ambassador to Libya
 102.   Lowell Decl., Ex. 102: “Madi – Kill        Ex. 136 to Shatsky I Plaintiffs’ 56.1 Statement
        Jews Allah will make Muslims               , filed on Nov. 12, 2013 (Shatsky I, DE 252)
        masters over Jews Aug 3-01” Video
 103.   Lowell Decl., Ex. 103: Al-Hayat al-        Ex. 72 to Shatsky I Plaintiffs’ 56.1 Statement,
        Jadida Magazine Publication on             filed on Nov. 12, 2013 (Shatsky I, DE 252)
        Fifty Third Anniversary of Nakba
 104.   Lowell Decl., Ex. 104: Translated          Ex. 146 to Shatsky I Plaintiffs’ 56.1 Statement,
        Transcript of a Video Interview with       filed on Nov. 12, 2013 (Shatsky I, DE 252)
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 105.   Lowell Decl., Ex. 105: Al-Hayat al-        Ex. 74 to Shatsky I Plaintiffs’ 56.1 Statement,
        Jadida Magazine Publication on             filed on Nov. 12, 2013 (Shatsky I, DE 252)
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 106.   Lowell Decl., Ex. 106: Al-Hayat al-        Ex. 75 to Shatsky I Plaintiffs’ 56.1 Statement,
        Jadida Magazine Publication on             filed on Nov. 12, 2013 (Shatsky I, DE 252)
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 107.   Lowell Decl., Ex. 107: Editorial of        Ex. 76 to Shatsky I Plaintiffs’ 56.1 Statement,
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 108.   Lowell Decl., Ex. 108: Al-Hayat al-        Ex. 78 to Shatsky I Plaintiffs’ 56.1 Statement,
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 109.   Lowell Decl., Ex. 109: Al-Hayat al-        Ex. 79 to Shatsky I Plaintiffs’ 56.1 Statement,
        Jadida Magazine Publication on             filed on Nov. 12, 2013 (Shatsky I, DE 252)
        Sporting Event Named After Nazal
 110.   Lowell Decl., Ex. 110: Palestinian         Ex. 87 to Shatsky I Plaintiffs’ 56.1 Statement,
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 111.   Lowell Decl., Ex. 111: Monthly             Ex. 89 Shatsky I Plaintiffs’ 56.1 Statement,
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 112.   Lowell Decl., Ex. 112: Monthly          Ex. 91 to Shatsky I Plaintiffs’ 56.1 Statement,
        Bulletin 2 by Political Guidance for    filed on Nov. 12, 2013 (Shatsky I, DE 252)
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 113.   Lowell Decl., Ex. 113: Al-Areen         Ex. 100 to Shatsky I Plaintiffs’ 56.1 Statement,
        Institute Publication Titled “Humat     filed on Nov. 12, 2013 (Shatsky I, DE 252)
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 114.   Lowell Decl., Ex. 114: Al-Hayat al-     Ex. 77 to Shatsky I Plaintiffs’ 56.1 Statement,
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 115.   Lowell Decl., Ex. 115: Apr. 16,         N/A
        2021 correspondence from A.
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 116.   Lowell Decl., Ex. 116: Apr. 27,         N/A
        2021 correspondence from S.
        Arguello to Defendants’ counsel
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 117.   Lowell Decl., Ex. 117: Feb. 12,         N/A
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 118.   Lowell Decl., Ex. 118: Apr. 23,         N/A
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 119.   Lowell Decl., Ex. 119: Apr. 29,         N/A
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                                             Respectfully submitted,


Dated: New York, New York                    WINSTON & STRAWN LLP
       October 4, 2021
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